                        Case 3:24-cv-02311-TSH           Document 76-3   Filed 11/11/24    Page 1 of 2



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                   19
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                   20
                                                 NORTHERN DISTRICT OF CALIFORNIA
                   21

                   22   CITY AND COUNTY OF SAN FRANCISCO,                Case No. 3:24-CV-02311-TSH

                   23                     Plaintiff,                     [PROPOSED] ORDER GRANTING
                                                                         PLAINTIFF’S CITY AND COUNTY OF SAN
                   24            v.                                      FRANCISCO’S ADMINISTRATIVE MOTION
                                                                         TO CONTINUE HEARING ON DEFENDANT
                   25   CITY OF OAKLAND AND PORT OF                      CITY OF OAKLAND’S MOTION FOR
                        OAKLAND,                                         SUMMARY JUDGMENT
                   26
                                          Defendants.
                   27

                   28   AND RELATED COUNTERCLAIM
COOLEY LLP
ATTORNEYS AT LAW                                                                   (PROPOSED) ORDER GRANTING MOT TO
                                                                                                         CONTINUE MSJ
                                                                                          CASE NO.: 3:24-CV-02311-TSH
                        310632563 v1
                        11/11/24
                        Case 3:24-cv-02311-TSH           Document 76-3         Filed 11/11/24      Page 2 of 2



                    1            Having considered Plaintiff’s Administrative Motion to Continue the Hearing on Defendant

                    2   City of Oakland’s Motion for Summary Judgment and the accompanying Declaration of Ryan C.

                    3   Stevens and for good cause shown, the Court hereby orders as follows:

                    4            1. The hearing on Defendant’s Motion for Summary Judgment (ECF No. 69) is continued

                    5            from December 5, 2024 at 9:00 a.m. to January 9, 2025 at 9:00 a.m.

                    6            2. San Francisco’s deadline to oppose the City of Oakland’s summary judgment motion is

                    7            continued to December 26, 2024.

                    8            3. Defendant’s deadline to file a reply brief is continued to January 2, 2025.

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                   10            IT IS SO ORDERED.

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                   12   Dated: _________________
                                                                                 Honorable Thomas S. Hixon
                   13                                                            United States District Judge
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COOLEY LLP
ATTORNEYS AT LAW                                                                           (PROPOSED) ORDER GRANTING MOT TO
                                                                                                                  CONTINUE MSJ
                                                                                                 CASE NO.: 3:24-CV-02311-TSH
                        310632563 v1
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